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                     IN THE UNITED STATES DISTRICT
                   COURT DISTRICT OF SOUTH CAROLINA
                          CHARLESTON DIVISION


United States of America,               )
                                       )
             vs.                        )
                                        )    ORDER IMPOSING FINAL
Reed C. Tanner,                         )        JUDGMENT
                                       )
                    Defendant.          )
                                         )



      This matter comes before the Court by the request of both parties to impose

a final judgment in the above-referenced matter. On December 3, 2020, the

Defendant was found guilty of violating CFR 1.218(b)(11), disorderly conduct,

unwanted touching and impeding movement of a VA employee. On that date, this

Court ordered the parties to research potential sentencing options for the Court to

impose in lieu of a monetary penalty, due to the Defendant’s financial difficulties.

      Both parties have agreed that the Court may impose a sentence of

community service in lieu of a monetary penalty. Therefore, the Court informed

the parties of its intent to impose a fine of $250, suspended upon the completion of

25 hours of community service.

      The Defendant, through his attorney, Charles W. Cochran, asserts that,

due to numerous health issues, he is physically unable to perform any type of

community service. He also asserts that he is financially unable to pay any

monetary penalties which the Court may impose.

      The Defendant has also expressed that he intends to appeal this Court’s
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findings and has requested that this Court stay sentencing until that appeal has

been decided by the District Court.

     Therefore, this Court hereby enters a final judgment, finding the Defendant

GUILTY of disorderly conduct and holds sentencing in abeyance until the

Defendant’s appeal has been adjudicated by the District Court.




IT IS SO ORDERED.


                                      _S/ Robert L. Buchanan________________
                                      Judge Robert L. Buchanan Jr.
                                      United States Magistrate Judge


January 11, 2021
